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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- -- - - -- - - -- - - -- - - -- - - -- - - -- - X
UNITED STATES OF AMERICA,                                  SATISFACTION OF JUDGMENT

                 -against-                                 Criminal Docket
                                                           No. CR-15-0637

MARTIN SHKRELI,                                            (Matsumoto, J.)

                  Defendant.
- -- - - -- - - -- - - -- - - -- - - -- - - -- - X

                 WHEREAS, a judgment was imposed against the defendant and in favor of the

United States of America, in the amount of $463,636.49, that is, restitution in the amount of

$388,336.49, plus interest, a fine in the amount of $75,000.00, plus interest, and a special

assessment in the amount of $300.00, on March 26, 2018, in the above-captioned case, and

thereafter entered on the docket sheet by the Clerk of the Court on April 17, 2018; and

                 WHEREAS, said judgment has been fully paid as to the defendant MARTIN

SHKRELI;

                 THEREFORE, the Clerk of the Court is hereby authorized and requested to

cancel, satisfy, and discharge the same solely as to the defendant MARTIN SHKRELI.

Dated:           Brooklyn, New York
                 July 21, 2020


                                                           SETH D. DuCHARME
                                                           Acting United States Attorney
                                                           Eastern District of New York
                                                           271 Cadman Plaza East, 8th Fl.
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                                                     By:         /s/
                                                           THOMAS R. PRICE
                                                           Assistant U.S. Attorney
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